             Case 3:06-cr-00090-MHP           Document 44   Filed 09/05/06     Page 1 of 3



1    KEVIN V. RYAN (CASBN 118321)
     United States Attorney
2
     MARK L. KROTOSKI (CASBN 138549)
3    Chief, Criminal Division
4    TIMOTHY J. LUCEY (CASBN 172332)
     Assistant United States Attorney
5
        450 Golden Gate Avenue, Box 36055
6       San Francisco, California 94102
        Telephone: (415) 436-7152
7       Facsimile: (415) 436-7234
        E-mail: Timothy.Lucey@usdoj.gov
8
     Attorneys for United States of America
9
10                             UNITED STATES DISTRICT COURT
11                          NORTHERN DISTRICT OF CALIFORNIA
12                                 SAN FRANCISCO DIVISION
13   UNITED STATES OF AMERICA,                    )    No. CR 06 - 0090 - MHP
                                                  )
14           Plaintiff,                           )
                                                  )    STIPULATION AND [PROPOSED]
15      v.                                        )    ORDER TO CONTINUE STATUS
                                                  )    HEARING AND EXCLUDE TIME
16   HARUT KORAKOSSIAN, et al.,                   )
                                                  )
17           Defendant.                           )
                                                  )
18
19           WHEREAS, defendants HARUT KORAKOSSIAN, WILSON FUNG, and
20   EDWARD ALAN RIDGILL, are charged with violations of federal law in an indictment
21   pending in the above-entitled matter before this Court and are currently scheduled for a
22   status hearing date on Tuesday, September 5, 2006, at 10:00 a.m. before this Court;
23           WHEREAS, government has recently undergone a re-assignment of this matter
24   within the United States Attorney’s Office for this District, and as a result, Assistant
25   United States Attorney Timothy J. Lucey is now the lead and responsible attorney for the
26   government in this matter;
27           WHEREAS, AUSA Lucey was previously scheduled to be out of this District from
28   September 1 through September 9, 2006, such that he is not available to attend the

     STIPULATION AND [PROPOSED] ORDER
     [CR 06 - 0090 - MHP]
            Case 3:06-cr-00090-MHP         Document 44      Filed 09/05/06    Page 2 of 3



1    hearing on September 5, 2006, and due to the recent assignment to the matter, would, in
2    any event, require additional time to review the case files and discovery in order to be
3    effectively prepared to address the Court on substantive and procedural issues relative to
4    discovery issues and trial setting;
5           WHEREAS, government counsel has conferred with counsel for all three
6    defendants, who have agreed to continue the hearing date until the next available date on
7    all counsels’ calendars, which is Monday, October 16, 2006, and further agreed with the
8    government that time should be excluded under the Speedy Trial Act between August 31,
9    2006 and October 16, 2006, based on the need for continuity of counsel as well as
10   effective preparation of counsel, pursuant to 18 U.S.C. §§ 3161(h)(8)(A), (B);
11          WHEREAS, government counsel has conferred with the clerk for this Court, who
12   has determined that October 16, 2006 at 10:00 a.m. is an available date on this Court’s
13   calendar;
14          THEREFORE, the parties hereby mutually and respectfully request and stipulate
15   that the matter be continued and time excluded under the Speedy Trial Act until Monday,
16   October 16, 2006, at 10:00 a.m. before this Court, in order to ensure effective preparation
17   of all counsel as well as the continuity of government counsel, and that the ends of justice
18   served by such a continuance outweighs the best interest of the defendants and the public
19   in a speedy trial, pursuant to 18 U.S.C. §§ 3161(h)(8)(A), (B).
20          IT IS SO STIPULATED.
21                                                    KEVIN V. RYAN
                                                      United States Attorney
22
23   Dated: August 30, 2006                            /S/ Timothy J. Lucey
                                                      TIMOTHY J. LUCEY
24                                                    Assistant United States Attorney
25
                                                      MORRISON & FOERSTER
26
27   Dated: August 30, 2006                            /S/ Eugene G. Illovsky
                                                      EUGENE G. ILLOVSKY
28                                                    Attorney for Defendant
                                                      Harut Korakossian
     STIPULATION AND [PROPOSED] ORDER
     [CR 06 - 0090 - MHP]                         2
           Case 3:06-cr-00090-MHP       Document 44           Filed 09/05/06     Page 3 of 3



1
                                                     BARRY PORTMAN
2                                                    Federal Public Defender
3
4    Dated: August 30, 2006                           /S/ Geoffrey A. Hansen
                                                     GEOFFREY A. HANSEN
5                                                    Attorney for Defendant
                                                     Edward Alan Ridgill
6
7
                                                     ELLEN M. BARRY
8
9
     Dated: August 30, 2006                           /S/ Ellen M. Barry
10                                                   ELLEN M. BARRY
                                                     Attorney for Defendant
11                                                   Wilson Fung
12
           IT IS SO ORDERED.
                                                         ES DISTRICT
13                                                      T            C
                                                      TA




                                                                                 O
                                                  S



14




                                                                                  U
                                                ED




     Dated: 9/1/2006




                                                                                   RT
                                                                  RDERHALLED PATEL
                                            UNIT




15                                                   HON. MARILYN
                                                                O
                                                          S S O
                                                     IT I
                                                     United  States District Court




                                                                                          R NIA
16
                                                                                  l
                                                                           H. Pate
17
                                                                  arilyn
                                            NO




18                                                        Judge M                         FO
                                             RT




                                                                                      LI

                                                     ER
                                                  H




19
                                                                                 A



                                                          N                           C
                                                                               F
20                                                            D IS T IC
                                                                    R       TO
21
22
23
24
25
26
27
28

     STIPULATION AND [PROPOSED] ORDER
     [CR 06 - 0090 - MHP]                     3
